             Case: 1:13-cr-00091-SJD Doc #: 186 Filed: 07/27/15 Page: 1 of 1 PAGEID #: 853
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(e)(2)           Page I of2(Page 2 Not for Public Disclosure)


                                        United States District Court
                                                                        for the

                                                   SOUTHERN DISTRICT OF OHIO


                    United States of America
                                   v.

                        MATTHEW JONES
                                                                                Case No:      1:13-CR-91-004
                                                                                USMNo: 71602-061
Date of Original Judgment:                            07/31/2014
Date of Previous Amended Judgment:                                              Laura E. Byrum, Esq.
(Use Date ofLastAmended Judgment ifAny)                                         Defendant's Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
          Upon motion of 0 the defendant Q the Director ofthe Bureau ofPrisons Q the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §IB 1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          LJDENIED. IZIgRANTED and the defendant's previously imposed sentence ofimprisonment (as reflected in
the lastjudgment issued) of       70                                   months is reduced to              60 MONTHS                                 .
                                              (Complete PartsI and II ofPage 2 whenmotion is granted)




Except as otherwise provided, allprovisions of the judgment dated                           07/31/2014             shall remain in effect.
IT IS SO ORDERED.


Order Date:                  07/27/2015
                                                                                                          udgeSsignature

Effective Date:              11/01/2015                                                  Sandra S. Beckwith, Senior Judge
                     (ifdifferentfrom orderdate)                                                       Printed name and title
